Case 2:07-md-01873-KDE-MBN Document 14466 Filed 06/22/10 Page 1 of 3

Case 2:07-md-01873-KDE-ALC Document 14211 Filed 05/27/10 Page 1 of 2 ym
AO 440 (Rev 04/08) Civil Summons
UNITED STATES DISTRICT COURT
for the
EASTERN District of LOUISIANA
SHERNA LUMAR, ET AL )
Plaintiff )
v. ) Civil Action No. 09-3616

JAYCO ENTERPRISES. INC. ET AL )
Defendant )

Summons in a Civil Action

To: (Defendant's name and address)
FEDERAL EMERGENCY MANAGEMENT AGENCY
through CRAIG FUGATE, Director
500 C. Street, S.W.
Washington, DC 20472

A lawsuit has been filed against you.

Within _60 days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attorney, whose name and address are:
Justin I]. Woods
1100 Poydras St., Suite 2800
New Orleans, LA 70163-2800

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Date: May 27 2010

(Use 60 days ifthe defendant ts the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12(a)(3).)
Case 2:07-md-01873-KDE-MBN Document 14466 Filed 06/22/10 Page 2 of 3
Case 2:07-md-01873-KDE-ALC Document 14211 Filed 05/27/10 Page 2 of 2

& AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service

I declare under penalty of perjury that I served the summons and complaint in this case on

by:

(1) personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion: or

(3)delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

; or
(4)returning the summons unexecuted to the court clerk on Or
(5)other (specify
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:

Server's signature

Pnnted name and title

Server’s address
Case 2:07-md- -
md-01873-KDE-MBN Document 14466 Filed 06/22/10 Page 3 of 3

rmit No, G-10

UNITED S$ :
rT
ATES PosTAL SERVICE
First-Cl.
lass Mail
Po
USPS & Fees ra
e

p t y ' d

Justin Woods

Gaiasburgh, Benjamj
» benjamin, David, Meuni
1100 Poydras Street, Suite 2800 & Warshauer, L.L.C.

New Orleans, Louisiana 70163

Formaldehyde 09-3616 Sherna Lumar

Hotlhsoolldbatlulbshlalalballenh I

yin) =43 ne a oe ere

Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.
@ Print your name and address on the reverse

x SS gat -yie *° ‘D1 Addressee

so that we can retum the card to you. B. Received by (Printed Name) -.|G,-Date of Delivery
Attach this card to the back of he mailpiece, ee JUN 9 5-7 ic -
mits.
routers : a D. Is delivery address different from item 17 C1 Yes

1. Article Addressed to: if YES, enter delivery address below: C1 No

Federal Emergency Management Agency

>
through the Office of the Director 7 wate ‘Kaneatn

Vs

Craig Fugate, Director
500 C Street S.W. a. Service TYPe -
Washington, DC 20472 CO Certified Mail +1 Express Mall

C1 Registered CO Return Receipt for Merchandise
C0 Insured Mail OO c.0.D.

| 4. Restricted Delivery? (Extra Fee) ——_—~ (C1 Yes

2 ey torn sevice labo) sqoa uaso ooo4 LIA? eerU

PS Form 3811, February 2004 Domestic Retum Receipt 402595-02-M-1540

